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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                  10/21/2020


PAUL MONTANA, et al.,

                                            Plaintiffs,                18-CV-06594 (SN)

                          -against-                                          ORDER

JOHN PAPPAGIORGIO, et al.,

                                            Defendants.

-----------------------------------------------------------------X

SARAH NETBURN, United States Magistrate Judge:

         A telephonic conference has been scheduled for October 28, 2020, at 10:00 a.m. to

discuss the proposed settlement agreement at ECF No. 57. At that time the parties should call the

Court’s dedicated conferencing line at (877) 402-9757 and enter Access Code 7938632, followed

by the pound (#) key.

SO ORDERED.



DATED:           New York, New York
                 October 21, 2020
